Case 18-15691-CMG                Doc 341      Filed 02/25/19 Entered 02/25/19 22:36:06                      Desc Main
                                             Document      Page 1 of 5


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     TIMOTHY P. NEUMANN, ESQ. [TN6429]
     BROEGE, NEUMANN, FISCHER & SHAVER, L.L.C.
     25 Abe Voorhees Drive
     Manasquan, NJ 08736
     Tel: (732) 223-8484
     Email: Timothy.neumann25@gmail.com

     Attorneys for Debtor/Debtor-in-Possession
     American Center for Civil Justice, Inc.
     In Re:                                                                  Chapter 11

     AMERICAN CENTER FOR CIVIL JUSTICE, INC.,                                Case No.: 18-15691

                                     Debtor.                                 Judge: Christine M. Gravelle


     CERTIFICATION OF TIMOTHY NEUMANN IN OPPOSITION TO MOTIONS OF THE
     CAMPUZANO CREDITORS AND MICHAEL ENGELBERG PURSUANT TO F.R.C.P 37
                         AND FED. R. BANKR. PROC. 9037

            Timothy Neumann, of full age, hereby certifies, as follows:

 1. I am the attorney for the American Center for Civil Justice, Inc. (“Debtor”).

 2. I submit this Certification in response to the motion of Michael Engelberg for an Order Pursuant

        to Federal Rule of Civil Procedure 37 and Fed. R. Bankr. P. 7037 (the “Engelberg Rule 37

        Motion”) filed on January 23, 2018[DE1 321] and the motion of Diana Campuzano, Avi Elishis

        and Gregg Salzman for an Order Pursuant to Federal Rule of Civil Procedure 37 and Fed. R.

        Bankr. P. 7037 (the “Campuzano Rule 37 Motion”) filed November 4, 2018 [DE 257].

 3. The Engelberg Rule 37 Motion is supported solely by the certification of David Howe [DE 321-

        1] which states at ¶2:

            2.     I submit this Certification in support of Michael Engelberg' s Motion for an Order
            Pursuant to Federal Rule of Civil Procedure 37 and Fed. R. Bankr. P. 7037 (the
            "Motion"). As explained in this Certification, Dr. Engelberg has already filed a joinder in
            a motion of certain other creditors (the Campuzano Claimants) for relief pursuant to
            Federal Rule of Civil Procedure 37 and Fed. R. Bankr. P. 7037. Dr. Engelberg is

 1
     “DE” followed by a numerical value refers to a specific docket entry on the Court’s docket in this Chapter 11 case.
Case 18-15691-CMG           Doc 341     Filed 02/25/19 Entered 02/25/19 22:36:06                 Desc Main
                                       Document      Page 2 of 5


          submitting this separate motion in order to preserve his pending joinder, should the
          Campuzano Claimants decide to withdraw their motion, and to provide an update to the
          Court regarding the status of the discovery provided (and not provided) by the Debtor to
          date.

 4. The Campuzano Claimants Rule 37 motion [DE 257-1] states at ¶ 25:

          25. The Campuzano Creditors respectfully submit that the proper remedy at this point
          is relief pursuant to Fed. R. Civ. P. 37(b)(2)(A), applicable in Bankruptcy Court via
          Bankruptcy Rule 7037, which permits the Court to enter “further just orders” which “may
          include the following:
                   (i) directing that the matters embraced in the order or other designated facts be
                        taken as established for purposes of the action, as the prevailing party claims;
                   (ii) prohibiting the disobedient party from supporting or opposing designated
                        claims or defenses, or from introducing designated matters in evidence;
                   (iii) striking pleadings in whole or in part;
                   (iv) staying further proceedings until the order is obeyed;
                   (v) dismissing the action or proceeding in whole or in part;
                   (vi) rendering a default judgment against the disobedient party; or
                   (vii) treating as contempt of court the failure to obey any order except an order to
                   submit to a physical or mental examination.

 5. The above passage quotes selectively from the applicable rule provision. It omits the first

      paragraph of Fed. R. Civ. P. 37(b)(2)(A) which states:

          (A) For Not Obeying a Discovery Order. If a party or a party’s officer, director, or
          managing agent—or a witness designated under Rule 30(b)(6) or 31(a)(4)—fails to
          obey an order to provide or permit discovery, including an order under Rule 26(f), 35,
          or 37(a), the court where the action is pending may issue further just orders. They
          may include the following:

 6.   The predicate for any of the relief enumerated is failure to obey an order to provide or permit

      discovery. No order directing the Debtor or its principals to provide discovery has been entered

      in this case.

 7. The Howe certification accurately states that David Howe recommended an e-discovery vendor

      that his firm uses, CDS/Relativity (“CDS”). I hired CDS and have been working with them in

      reviewing voluminous emails. From time to time, I have consulted David Howe to ascertain his

      preferences in conducting the document review. An example is the following email exchange of

      January 29, 2019 in which I relayed to David an inquiry from Orrin Case of CDS:



                                                      2
Case 18-15691-CMG          Doc 341    Filed 02/25/19 Entered 02/25/19 22:36:06               Desc Main
                                     Document      Page 3 of 5


 David Howe <david@livingstonhowe.com>
 to me, Joe, Mo, Jeffrey


 Tim:
 Our preferences are:
 1 – use those emails addresses when running Section 2 searches.
 2 – search email body as well as headers.
 Thanks,
 David


 From: Timothy Neumann [mailto:timothy.neumann25@gmail.com]
 Sent: Tuesday, January 29, 2019 10:36 AM
 To: Jeffrey Livingston <jeff@livingstonhowe.com>
 Cc: Joe Casello <jcasello@cvclaw.net>; Mo Bauer <msbauer@norris-law.com>; David D.
 <david@livingstonhowe.com>
 Subject: Re: ACCJ/ACCJ-RLT; Milton Pollack

 David,
 CDS has asked the following. Let me know your preference.

 Hi Tim,
 Looking at section 1 email addresses of the search terms Word doc, would you like us to run the emails
 there across the entire data set, or should we use those email addresses when running searches for
 section 2 search terms?
 Also, when searching on email addresses should the searches be limited to email headers only, or should
 we also search within the email body as well?
 Thank you
 Orrin

 8. I conveyed Mr. Howe’s instructions to CDS.

 9. The discovery sought relates in part to an agreement between the Debtor and RLT the existence

     of which Engelberg is disputing, and he has asked for discovery from January 1, of 2007. This

     request encompasses the emails of Eliezer Perr, Neal Sher, and Jed Perr for the past 11 years, and

     includes many communications with attorneys that are privileged. A sense of the magnitude of

     the undertaking appears from the following January 29, 2018 email from Mr. Case:

         On Tue, Jan 29, 2019 at 11:27 PM Orrin Case <ocase@cdslegal.com> wrote:

         Hi Tim,


                                                   3
Case 18-15691-CMG         Doc 341       Filed 02/25/19 Entered 02/25/19 22:36:06                 Desc Main
                                       Document      Page 4 of 5


        Please see search results below and reports attached where search terms were run; we
        can provide you access to Relativity so you can take a look at the results before
        promoting to review. Thank you.
        Noting the total document universe is 190,128 documents.
        - (a and b) Date 1/1/2009 returns 2,975 documents including family, report attached.
        - (c, e, f) No Date returns 1,885 documents including family, report attached.
        - (d) Date 2007 + Emails J Perr and E Perr returns 62,720 documents including family.
        - (g) Date 2011 + Emails DLA + J Perr + E Perr + NOT M Engelberg returns 638 documents
        including family.
        - (h) No Date + Emails J Perr + E Perr plus terms returns 1,655 documents including
        family, report attached.
        - (i and j) No Date + Emails J Perr, E Perr, N Sher returns 736 documents including family,
        report attached.
        - (k) Date 2013 + Emails Caplin & Drysdale, E Perr, J Perr, N Sher, M Pollack returns 5
        documents including family, report
        attached.
        - (l) Emails: J Leuhring or S Deutsch + NOT M Engelberg returns 8 documents including
        family.
        - (3) No Date + File name Amendment Agreement returns 27 documents including
        family.
        - (4) Document Extension Excel + Author J Perr returns 130 documents including family.

        Orrin

 10. The initial document universe of 190,128 documents was all of the emails with attachments

    Eliezer Perr, Neal Sher and Jed Perr. Those have been filtered using search terms supplied by Dr.

    Engelberg’s counsel. That process reduced the population to approximately 8,000, all of which

    had to be individually reviewed and categorized as either responsive or non-responsive to the

    subpoena, and privileged or non-privileged, and the privileged documents denoted as

    attorney/client or work product.

 11. As of today, I have supplied to Dr. Engelberg’s counsel the responsive non-privileged emails

    plus attachments of Neal Sher and Elie Perr.

 12. I am awaiting to receive from CDS the production of Jed Perr’s emails which I anticipate

    receiving this week. Those will have to be reviewed but they will be as soon as possible.

        I certify that the above statements of fact are true. I acknowledge that if any of the



                                                    4
Case 18-15691-CMG          Doc 341     Filed 02/25/19 Entered 02/25/19 22:36:06   Desc Main
                                      Document      Page 5 of 5


 above statements of fact are willfully false, I am subject to punishment.

                                                         /s/ Timothy Neumann
 February 25, 2019                                           Timothy Neumann




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